Case 4:13-cv-00121-SWW = Document 25-6 Filed 01/03/14 Page 1of8

OFFICER REPORT ase
Eric Staten 203

Alexander Police Department

On May 29, 201 LL officer Staten, went to assist Shannon Hills on a
disturbance, Upon my arrival, I made contact with the Oscar De Leon. He
advised me the suspect was in the attic. Officer Hawkins was on the east
side of the residence trying to get the suspect to come down. | position
myself on the west side of the residence just in case the suspect goes my
way. Officer Shepard was in the attic with the suspect. Officer Hawkins
went through the east entrance to retrieve the suspect until the suspect
started resist in a combative manner. In the confine space, Officer Hawkins
used his ASP baton to gain control of the suspect. Officer Hawkins felled
through the ceiling but was able to gain his control of his fall by bracing
himself on a ceiling beam. Officer Hawkins was able to put handcuffs on the
suspect. I escorted the suspect to the Shannon Hills patrol unit where I

perform a Terry Frisk on the suspect. I place the suspect in the car.

Officer Eric Staten 203
Case 4:13-cv-00121-SWW._ Document 25-6 Filed 01/03/14 Page 2 of 8
Alexander Police Department

4 INFORMATION REPORT
INCIDENT # 2011-384

T Incident Incident . Ty j
ieden. USE Of Force ent 3/16/11 ae 6:00p =F Information
Call Call - Unit . Geo. District

Date 3/16/11 Time 6:1 Op Assigned 201 Premise Bus Code Occurred

ADDRESS OF INCIDENT

BUSINESS NAME Hess Service Station Phone

1. Subj’s Class: (Check One) Person Reporting ( Victim (] Suspect K] Witness [1] Owner LJ Contact LI Missing (] Runaway (1 ATL £1

LastName Meredith First Christopher
Race W Sex MM DOB 20tys HST 6 Ft 3 Ins Wgt 235 Hair = Brow Eyes Unk
Address = Unk Type Res City Bauxite State AR
Phone Driver's Lic # State Social Sec #
Place of Employment Phone Scars, Marks, ete.
Info, (Location of weapon, etc.}
Clothing Desc. Hat Coat Shirt/Blouse None Pants/Dress Shoes boots
2. Subj’s Class: (Check One) Person Reporting [] Victim [1 Suspect] Witness [] Owner CJ Contact L] Missing L] Runaway [J ATL
Last Name First Middle
Race Sex DOB HGT Ft Ins = Wegt Hair Eyes
Address Type City State
Phone Driver’s Lic # State Social Sec #
Place of Employment . Phone Scars, Marks, etc.
Info. (Location of weapon, etc.)
Clothing Desc. Hat Coat Shirt/Blouse Pants/Dress Shoes
3. Subj’s Class: (Check One) Person Reporting [J Victim [1] Suspect 1] Witness [1] Owner [1] Contact (1 Missing [J Runaway [J ATL J
Last Name First Middle
Race Sex DOB HGT Ft Ins Wat Hair Eyes
Address Type City State
Phone Driver's Lic # State Social Sec #
Place of Employment Phone Scars, Marks, etc.
Info. (Location of weapon, etc.)
Clothing Desc. Hat Coat Shirt/Blouse Pants/Dress Shoes
4. Subj’s Class: (Check One) Person Reporting [] Victim L] Suspect 0) Witness FJ Owner (] Contact F] Missing [] Runaway [] ATL C1
Last Name First Middie
Race Sex DOB HGT Ft Ins Wat Hair Eyes
Address Type Cly ~— State
Phone Driver's Lic # State Social Sec #
Place of Employment Phone Scars, Marks, etc.
Info. (Location of weapon, etc.)
Clothing Desc. Hat Coat Shirt/Blouse Pants/Dress Shoes
1. Veh. Class = (Check One) Wanted [1] Suspect 1 Subj of Report [J Stolen 1] Abandoned (] Stored [1] Other (J
Color Veh Year Make Model Style
Lic Year Lic State Lic Number Lic Type VIN
Remarks OO SRN# NIC #
2.Veh. Class = (Check One) Wanted L] Suspect [J Subj of Report L] Stolen DJ Abandoned [1 Stored [1] Other [1
Color Veh Year Make Model Style
Lic Year Lic State Lic Number Lic Type VIN
Remarks SRN # NIC #
3. Veh. Class = (Check One) Wanted [} Suspect [1] Subj of Report [ Stolen [1] Abandoned (J Stored (] Other [1]
Coler Veh Year Make Model Style
Lic Year Lic State Lic Number Lic Type VIN
Remarks SS a SRN # NIC #
Officer Signature & ID # DATE Time Supervisor
Cite. "BE, E62 22.3 BLU Y Spy, /Ty Fubltow
Investigator Assigned & !D # Supervisor Case Statls: Us: Active © (((Cleared)}}
Exceptionally Cleared Unfounded

Case 4:13-cv-00121-SWW = Document 25-6‘ Filed 01/03/14 Page 3 of 8
| |

DETAILS OF INFORMATION

Include points of entry, tools used, objects of attack where applicable
On 03/16/11 i, Officer was advised that we needed to evacuate the Shell Station so that a search warrant could be served.
Upon arrival ali of the customers complied with Officers but Christopher Meredith. Meredith was advised several times that
he needed to leave out of the store by Officers but he refused to comply. After Meredith was put out of the store by Officer
he still attempted to reenter the store by pulling on the door handle. Meredith still remained uncooperative with Officers
even though he was advised that if he didn’t let go of the handled he would be arrested. See attached statement in
reference to he incident.

Itemized List of Property Involved

Quantity Brand, Model & Description of Item Serial or ID # Value Property Tag #
$
$
$
$
®
3
$
$
5
Total Value Property | Stolen Recovered
$ $

ADDITIONAL ORIGINAL INFORMATION INCLUDED ON SUPPLEMENT FORM
LIST TRAFFIC SUMMONS & TICKET NUMBERS ! i I

AME Saco 4:13-cv-00121-SWW Document 25-6 Filed 01/03/14 Page 4 of 8

TO: Chief Horace Walters

FROM: Asst. Chief Brad Williams
REF: OC deployment

DATE: 03/16/11

On 03/16/11 I, Officer B. Williams along with other Officers from assisting agencies
seared a search warrant at the Hess Service Station, While inside the Hess Station
everyone left from inside the store when directed by this Officer but Christopher
Meredith. After being advised several times to leave the store Meredith refused to follow
directions from this Officer.

After being asked several times to leave with negative results I, Officer B. Williams
removed Meredith from the store. After Meredith was put out of the store by this Officer
he continued to attempt to reenter the store by pulling on the door handle opening the
door. J advised Meredith that if he didn’t let go of the door I was going to arrest him.

After being advised agairi to let go of the door handle Meredith opened the door again
and tried to enter the store. After Meredith refused to comply with this Officer I, Officer
B. Williams used OS spray on Meredith because he still was trying to enter the store.
After Meredith was sprayed with the OC agent by this Officer he let go of the door as
directed by this Officer.

Meredith was advised that if he applied water to his face it would help with the burning.
Meredith asked Officers how long it would take for the burning to go away and Officer
Lawrence advised him it takes about thirty minutes. The Meredith was advised that he
needed to leave the area by Chief Horace Walters. No further action taken at this time.

Assistant Chief Brad Williams

Brad Williams
Case 4:13-cv-00121-SWW = Document 25-6 Filed 01/03/14 Page 5of8

TO: Chief Horace Walters NH 1 Ww
FROM: Oscar De Leon ok

REF: OC deployment “

DATE: 03/16/11

I am writing in reference to the. incident involving Assistant Chief Brad Williams,
Christopher Meredith and myself. On 03/16/11 Officer Brad Williams and I were advised
to clear the Hess Service Station on 13325 1ts Street so that a search warrant could be

served. Upon arrival we were able to get everyone to leave out of the store but
Christopher Meredith.

Assistant Chief Brad Williams advised Meredith several verbally to exit the store and
Meredith would not comply. I asked Meredith also to leave the store and he would not
comply becoming argumentative with Assistant Chief Brad Williams and I. After being
asked several to exit the store Assistant Chief Williams and I removed Meredith from the
store.

_After being put out of the store Meredith opened the entry door and tried to re-enter the

store. Assistant Chief Brad Williams grabbed the door and advised Meredith that he
needed to let go of the door but Meredith would not comply with Officers. After
Assistant Chief Brad Williams closed the door Meredith opened the door again so
Assistant Chief Brad Williams closed the door and advised Meredith to let go of the door
or he would be arrested.

After being advised twice to let go of the door Meredith pulled the door open a third time
pulling the door handle out of Officer’s Williams’s hand. I felt that Meredith‘s actions
were blatant and reckless putting Officers lives in danger. I feel that if Assistant Chief
Brad Williams had not stopped Meredith’s aggressive behavior he would have re-entered
the store putting Officers Lives in danger. The store had several back rooms that we had
not checked yet because Meredith would not comply with Officers. Therefore because of
Meredith’s reckless behavior the building was not secure putting Officers lives at risk.

Oscar De Leon

GANA = x? 4 “Pel
Case 4:13-cv-00121-SWW = Document 25-6 Filed 01/03/14 Page 6of8

Alexander Police Department
INFORMATION REPORT
INCIDENT # = 2011000149

yee, Use Of Force Taser Deployment Rodent 1/31/14 Weldent 43:30 tre Disturbance
bate 134/11 Time 1 3:30 Assigned 202&1 4 Premise RES Case outed
02
ADDRESS OF INCIDENT — 10207 Laddie Drive Mabelvale AR, 72013
BUSINESS NAME Phone

1. Subj’s Class: (Check One) Person Reporting [1] Victim — Suspect LJ Witness (J Owner L] Contact 1) Missing F Runaway [] ATL

LastName Lockwood First Stephen Middle
Race WwW Sex M DOB hm HGT § Ft 2 Ins Wat Hair Eyes
Address iy Type RES cy State AR
Phone Driver's Lic # i —e State AR Social Sec#
Place of Employment Phone Scars, Marks, etc,
Info. (Location of weapon, etc.)
Clothing Desc. Hat Coat Shirt/Blouse None Pants/Dress Shoes
2. Subj’s Class: (Check One) Person Reporting [] Victim (1 Suspect Witness [] Owner [1] Contact (] Missing 0] Runaway 0 ATL
Last Name First Middle
Race Sex DOB HGT Ft Ins  Wegt Hair Eyes
Address Type City State
Phone Driver's Lic # State Social Sec #
Place of Employment Phone Scars, Marks, etc.
Info. (Location of weapon, etc.)
Clothing Desc. Hat Coat Shirt/Blouse Pants/Dress Shoes
3. Subj’s Class: (Check One) Person Reporting (J Victim (J Suspect 1] Witness (J Owner (J Contact 1 Missing 1 Runaway (J ATL
Last Name First Middle
Race Sex DOB HGT Ft Ins . Wot Hair Eyes
Address Type City State
Phone Driver's Lic # State Social Sec #
Place of Employment Phone Scars, Marks, etc.
Info. (Location of weapon, etc.)
Clothing Desc, Hat Coat Shirt/Blouse Pants/Dress Shoes
4. Subj's Class: (Check One) Person Reporting [] Victim (J Suspect L] Witness (} Owner CL] Contact Fj Missing [1 Runaway [] ATL O
Last Name First Middle
Race Sex DOB HGT Ft Ins Wat Hair Eyes
Address Type City State
Phone Driver's Lic # State Social Sec #
Place of Employment Phone Scars, Marks, etc.
lnfo. (Location of weapon, etc.)
Clothing Desc. Hat Coat Shirt/Blouse Pants/Dress Shoes
4.Veh. Class (Check One} Wanted [1] Suspect [] Subj of Report [] Stolen [J Abandoned (7) Stored [J Other
Color Veh Year Make Model Style
Lic Year Lic State Lic Number Lic Type VIN
Remarks SRN# NIC #
2. Veh. Class = (Check One} Wanted (] Suspect [] Subj of Report O] Stolen 17 Abandoned (1 Stored [] Other 1]
Color Veh Year Make Model Style
Lic Year Lic State Lic Number Lic Type VIN
Remarks SRN # NIC # fo
Officer Signature & ID # DATE Time Supervisor " Py goo

J. Fenton ef — 1/31/2011) 45:23 | Chief Walter] A i UG ara
investigator Assign DEY Supervisor Case Status: Active’. ' (((Cfeared))}

Exceptionally Cleared Unfounded

Case 4:13-cv-00121-SWW = Document 25-6 ‘Filed 01/03/14 Page 7 of 8
DETAILS OF INFORMATION

Include points of entry, tools used, objects of attack where applicable

On the above date arid approximated time, | officer Fenton assisted Sgt Jackson with a disturbance at 10207 Laddie
Drive. On arrival contact was made with a Lockwood, Stephen. Mr. Lockwood had been causing problems having verbal
disagreements with his mother. Mr. Lockwood has a history of physical violence towards family members. Mr. Lockwood
was given several verbal directives to place his hands behind his back so that Sgt Jackson could place him in Handcuffs.
Mr. Lockwood refused to follow directives after being advised that if he didn’t comply that he would be tased. As Sgt
Jackson was attempting to handcuff Mr. Lockwood, Mr. Lockwood started resisting arrest. | officer Fenton deployed my
Taser with the Top probe striking the suspect in the left breast and the other probe landed approximately Ginchs below the
top probe on the upper stomach area. Mr. Lockwood was taken into custody without any further incidents. Shannon Hills
Fire Department was dispatched for a medical assessment for Mr. Lockwood injuries. Mr. Lockwood was transported to
Baptist Hospital by ambulance for a menial evaluation. All information was taken with nothing further to report end of
statement.

Itemized List of Property Involved

Quantity Brand, Model & Description of Item Serial or ID # Value Property Tag #
$
$
$
$
$
$
5
$
$
Total Value Property | Stolen Recovered
$ $

ADDITIONAL ORIGINAL INFORMATION INCLUDED ON SUPPLEMENT FORM
LIST TRAFFIC SUMMONS & TICKET NUMBERS l l f f

Case 4:13-cv-00121-SWW = Document 25-6 Filed 01/03/14 Page 8 of 8

ALEXANDER POLICE DEPARTMENT
USE OF FORCE REPORT

Date: \/3 | 2oil — time: }3: 3 O Incident#: 20// 002 J4/F
Suspect Name: Loek roood,, Steohen
Age: 30 Sex: Male. Height: (el'a"' Race: While, Weight:

Nature of call or incident:(Civil Disturbance) Suicidal Suicide by Cop Violent Suspect

Barricaded Warrant Other:

Location of incident: er fadoor ( ) Outdoor ¢ } Jail ( ) Hospital

Charges:

Deputies Involved: PTL.T. Fenfon APD 202, Sqr Jarkson

‘lype force used (check all that apply): ( )physical (fless-lethal ( ) firearm ( ) chemical -

Nature of injuries:

Admitted to Hospital for injuries: vi) Psychiatric: LON Medical Treatment: (YY N

Medical Exam: Y/N — Suspect under influence drugs/alcohol (specifics): .

Any other subject injured during incident: Y () Explain:

Description of all injury:

Taser

Taser use: Ciccessfailure . Suspect wearing heavy clothes: &@ N
# air cartridges fired: Z # of cycles: ZL Ser # cartridge(s): / OS ~ 205 SRS: bf

Dart probe contact: Y &® Drive stun contact: Y (S)

Approximate target distance at the time of the dart launch: 3 trot feet
Distance between the two probes: lo inches Need for an additional shot? YD

[
